              Case 5:22-cv-01355-XR Document 43 Filed 04/17/24
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                                           UNITED STATES DISTRICT COURT
                                                                                                                     FILED
                                                    Western District of Texas
                                                                                                                    APR 1 7 2Q24
                                          AMENDED Alternative Dispute Resolution Summary                      CLERK U s DISTRICT COUR
                                                                                                              WESTERN DISTjT OF TEXI
         Style of case:    Roxanne Michele Mathai v. Bexar County, Texas and Javier Salazar, Individually

2.       Civil action number:

3.       Nature of suit:            Plaintiff alleges termination in violation of First Amendment Rights (Speech & Association) and
                                    42 U.S.C. Sec. 1983.

4.       Date of Mediation:         March 22, 2024

5.       When did the case settle?           Before ADR           Ii In ADR                    E Did Not Settle
6.       What was your total fee?            $ 3,000.00                      or            Pro Bono

7.       How was this Mediation initiated?                   by court order               or      agreement of the parties

8,       Please provide the names, addresses, and telephone numbers of counsel:

Name:              Mark Anthony Sanchez, Esq.                         Name:
Address:           Sanchez & Wilson, PLLC                             Address:
                   6243 IH-10 West, Suite 1025
                   San Antonio, TX 78201 2020
Phone:             (210) 2228899
                                                                      Phone:

Name:              Susan A. Bowen, Esq.                               Name:
Address:           Assistant Criminal District Attorney               Address:
                   Civil Division
                   101 W. Nueva, Ith Floor
Phone:             Safl Antonio, TX 78205
                                                                      Phone:
                   (210 335-2139

9.       Additional comments:




             L
         0. (Oscar) Rene            az
                                          iY    SBN: 05804775                     April 15, 2024
         Signature of Neutral                                                     Date
           1100 NE Loop 410, Suite 200                                            210-600-4488
         Address                                                                  Phone
         San Antonio, TX           78209




 Neutral must file completedform in duplicate with the US. District Clerk within 5 days after completion of
 ADR or, fsettlement occurs prior to session, within 5 days of neutral's notice by the parties ofsettlement.
      Case 5:22-cv-01355-XR   Document 43 Filed 04/17/24 Page 2 of 4
                          YlNv7

                                       ', Diaz Mediation &
                                           Arbitration Center
                                                Judge Rene Diaz*
                        * Former Judge, 224th Judicial District Court, Bexar County, Texas

                                          www.DiazMediation.com

                                          April 15, 2024

Mr. Philip J. Devlin
Clerk, U.S. District Court, Western District of Texas
San Antonio Division
262 West Nueva Street, Room 1-400
San Antonio, TX 78207
ATTN: Natasha Martinez
       RE:     Case No. 5:22-cv-01355-XR; Roxanne Michele Mathai v. Bexar County, Texas
               and Javier Salazar, Individually; In the United States District Court for the Western
               District of Texas, San Antonio Division

Dear Ms. Martinez:

I apologize, the first Alternative Dispute Resolution Summary (ADR) Form had an incorrect cause
number.

Enclosed please find two (2) copies plus an additional copy of the AMENDED AlternativeDispute
Resolution Summary (ADR) Form in the above referenced matter for the Full Day Mediation that
occurred on March 22, 2024. I am pleased to report that this case settled on April 12, 2024.

Please file the two copies as indicated on the bottom line of the form and return a file stamped
copy of the Amended ADR Summary form back to our Firm in the enclosed self-addressed
stamped envelope.

Thank you for your attention to this matter.      Please contact the undersigned if you have any
questions.

Sincerely,



By:    C
       0. (OSCAR)
End. (as stated)
                         NEDIAZ,




0. RENE DIAZ                                                                 TETCO Center Building
Former Judge 224th Dist. Ct.                                            1100 N.E. Loop 410, Ste. 200
Bilingual Mediator / Arbitrator                                            San Antonio, Texas 78209
Email: judge@diazmediation.com                                                 Phone: 210-600-4488
Website: www.DiazMediation.com                                                      Fax: 210-600-4489
        Case 5:22-cv-01355-XR Document 43 Filed 04/17/24 Page 3 of 4

                                                                www.DiazMediation.com
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           DIAz MEDIATION &
                      CENTER
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cc:     Attorney for Plaintiff, Roxanne Mathai
        Mark Anthony Sanchez, Esq.               Via E-Mail: mas@sanchezwilson.com
        Sanchez & Wilson, PLLC
        6243 IH- 10 West, Suite 1025
        San Antonio Texas 7820 1-2020
        P: (210) 222-8899
        Attorney for Defendants. Bexar County. et al
        Susan A. Bowen, Esq.                     Via E-Mail: sbowen@bexar.org
        Assistant Criminal District Attorney
        Civil Division
        101 W. Nueva, 4th Floor
        San Antonio, Texas 78205
        P: (210) 335-2139




0. RENE DIAZ                                                      TETCO Center Building
Former Judge 224th Dist. Ct.                                    1100 N.E. Loop 410, Ste. 200
Bilingual Mediator / Arbitrator                                    San Antonio, Texas 78209
Email: judge@diazmediation.com                                          Phone: 210-600-4488
Website: www.DiazMediation.com                                            Fax: 210-600-4489
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                                                                                     BY                             262 WestNueva Street, Room 1-400
                                                                                                 D   U      CLERk   San Antonio, TX 78207
                                                                                                                    ATTN: Natasha Martinez
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